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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

                                                          )
UNITED STATES OF AMERICA                                  )      AMENDED JUDGMENT IN A CRIMINAL
                                                                 CASE
                                                          )
v.
                                                          )      Case Number: 1:23-CR-047-MHC
KRISTOPHER KNEUBUHLER                                     )      USM Number: 38608-510
                                                          )
                                                          )      Steven Berne and Lawrence Zimmerman
                                                                 Defendant’s Attorney


THE DEFENDANT:

The defendant pleaded guilty to count TWO.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                        Offense Ended        Count

18 U.S.C. §§ 2252(a)(4)(B) and       Possession of Child                      January 5, 2023         2
2256(2)                              Pornography

The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.


                                                         April 9, 2024
                                                         Date of Imposition of Judgment


                                                         Signature of Judge

                                                         MARK H. COHEN, U. S. DISTRICT JUDGE
                                                         Name and Title of Judge

                                                          April 12, 2024
                                                         Date
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Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of: FIFTY-SEVEN (57) MONTHS AS TO COUNT TWO.

        The court makes the following recommendations to the Bureau of Prisons: That the Defendant be
allowed to serve his custodial sentence at a facility as close as possible to the Atlanta, Georgia, area; and
 that the Defendant be recommended for participation in the RDAP drug treatment, if qualified, while serving
his sentence.

         The defendant is remanded to the custody of the United States Marshal.



                                                    RETURN

I have executed this judgment as follows:




 Defendant delivered on                                     to

 at                                         , with a certified copy of this judgment.



                                                                           UNITED STATES MARSHAL




                                                                       DEPUTY UNITED STATES MARSHAL
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Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                            SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a term of: FIFTEEN (15) YEARS
AS TO COUNT TWO.




                                         MANDATORY CONDITIONS


1. You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests, thereafter, as determined by the
   court.
        The above drug testing condition is suspended, based on the court's determination that you.
       pose a low risk of future substance abuse. (Check if applicable)
4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate in the collection of DNA as directed by the probation officer.
6. You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
   20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
   agency in the location where you reside, work, are a student, or were convicted of a qualifying offense.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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DEFENDANT: KRISTOPHER KNEUBUHLER
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                                    STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
   2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
   4. You must answer truthfully the questions asked by your probation officer.
   5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
   6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7. You must work full time (at least 30 hours per week) at a lawful type of employment unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment unless the probation officer
       excuses, you from doing so. If you plan to change where you work or anything about your work (such as your position or your
       job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
       at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
   8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
       the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
       the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov

I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my
term of supervision.


 Defendant's Signature                                                    Date

 USPO's Signature                                                         Date
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DEFENDANT: KRISTOPHER KNEUBUHLER
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                                SPECIAL CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following special conditions of supervision.

You must actively participate in a sex offense specific evaluation at a program approved by the U.S. Probation
Office. You must pay all or part of the costs of the evaluation based on your ability to pay unless excused by the
probation officer.

You must participate in a sex offense specific treatment program and follow the rules and regulations of the
program. The program must be approved by the U.S. Probation Office. The probation officer will supervise your
participation in the program (provider, location, modality, duration, intensity, etc.). You must pay all or part of
the costs of the program based on your ability to pay unless excused by the probation officer.

You must not view or possess any 'visual depiction' (as defined in 18 U.S.C. § 2256), including any photograph,
film, video, picture, or computer-generated image or picture, whether made or produced by electronic,
mechanical, or other means, of 'sexually explicit conduct' (as defined in 18 U.S.C. § 2256).

To monitor compliance with the conditions of supervision and treatment program requirements, you must submit
to periodic polygraph examination at the discretion of the probation officer. The examiner must be approved by
the U.S. Probation Office. You must pay all or part of the costs of the polygraph examination based on your
ability to pay unless excused by the probation officer.

You will have no contact, whether directly in person or indirectly through any means of communication, with any
child under the age of 18, including your own child, nor with any person unable to give consent due to mental or
emotional limitations unless you have permission from your probation officer. If you do have incidental contact
with any child under the age of 18, including your own child, or with any person unable to give consent due to
mental or emotional limitations you shall immediately remove yourself from the situation. You must report any
such contact to the probation officer within 24 hours and submit a written description of the incident to the
probation officer within 72 hours.

You must not patronize any adult entertainment establishments or adult toy /novelty shops. You must travel to or
remain at any place where you know children under the age of 18 are likely to congregate, including parks,
schools, arcades, playgrounds, and childcare facilities without first obtaining the permission of the probation
officer. You must not travel to or remain at a place for the primary purpose of observing or contracting children
under the age of 18.

You must disclose all locations where you receive mail to your probation officer. You must disclose the location
of any storage facilities and / or buildings to which you have access.

You must not engage in an occupation, business, profession, or volunteer activity that would require you to
working where you have access to children under the age of 18. without the prior approval of the probation officer.

You must not possess children's clothing, toys, and / or games, without the approval of your probation officer.
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DEFENDANT: KRISTOPHER KNEUBUHLER
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Pursuant to 18 U.S.C. §§ 3563(b)(23) or 3583(d)(3), and because you are a felon and required to register under
the Sex Offender Registration and Notification Act, you must submit your person, and any property, house,
residence, vehicle, papers, computer, other electronic communications or data storage devices or media, and
effects to search at any time, with or without a warrant, by any law enforcement or probation officer with
reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct, and by any
probation officer in the lawful discharge of the officer's supervision functions.

You must cooperate with the U.S. Probation Office in the monitoring of any computer system, Internet capable
devices, and / or similar electronic devices that you have access. Cooperation includes, but is not limited to,
identifying computer systems, Internet capable devices, and / or similar electronic devices (as defined in 18 U.S.C.
§ 1030(e)(1)) to which you have access and allowing the installation of monitoring software/hardware on said
devices. You and/or your probation officer shall inform all parties that access a monitored computer or similar
electronic device that the device is subject to search and monitoring. You may be limited to possessing only one
personal Internet capable device to facilitate your probation officer's ability to effectively monitor your Internet
related activities. You must not remove, tamper with, reverse engineer, or in any way circumvent installed
software. You must provide passwords for said computer systems. If able, you must pay the cost of monitoring
unless excused by the probation officer.

To ensure compliance with the computer monitoring condition, you must allow the probation officer to conduct
initial and periodic unannounced searches of any computers, computer systems, Internet capable devices, and
similar electronic devices (as defined in 18 U.S.C. § 1030(e)(1)) subject to monitoring. These searches shall be
conducted for the purpose of determining whether the computer contains any prohibited data prior to installation
of the monitoring software; to determine whether the monitoring software is functioning properly after
installation; and to determine whether there have been attempts to circumvent the monitoring software after
installation.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

You must take all mental health medication prescribed by your treating provider. You must pay for all or part of
the costs of medication based on your ability to pay unless excused by the probation officer.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.
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Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalties

                                         CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties as provided below. All criminal penalties shall be
due immediately. Payments must be made to the Clerk of court, United States District Court, Northern District
of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Drive SW, Atlanta, Georgia 30303.

                   Special Assessment

TOTAL              $100.00

The Court finds that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
waives the fine and cost of incarceration in this case.

                   JVTA Assessment**

TOTAL              $5,000.00

                   Assessment*

TOTAL              $10,000.00


                   Restitution

TOTAL              $20,500.00



 Name of Payee                       Restitution Ordered

 Restore the Child in                $4,000
 Trust for Jen
 Restore the Child, PLLC
 2522 N. Proctor Street,
 Suite 85, Tacoma, WA
 98406

 Restore the Child in                $4,000
 Trust for Ivy
 Restore the Child, PLLC
 2522 N Proctor Street,
 Suite 85
 Tacoma, WA 98406
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 Jones Day in Trust for               $4,000
 Patty
 Jones Day
 Attn: Kelly Locher
 500 Grant Street, Suite
 4500
 Pittsburgh, PA 15219-
 2514

 Carol L. Hepburn I/T/F               $8,500
 Lily
 P.O. Box 17718
 Seattle, WA 98127


 TOTAL                                $20,500.00



You shall notify the United States Attorney for this district within 30 days of any change of mailing or residence
address that occurs while any portion of the restitution remains unpaid.

The Court find that the defendant does not have the ability to pay interest on the amount of restitution. The Court
waives the interest requirement for the restitution.


                                                             FORFEITURE

 The Court hereby orders forfeiture consistent with the Final Order and Judgment of Forfeiture
 [Doc. 66], which is incorporated herein.




*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Judgment in a Criminal Case
Sheet 6 -- Schedule of Payments

                                             SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A.  Lump sum payment of $       due immediately, balance due:
        not later than _____, or
        in accordance with  C,  D,  E, or  F below; or

 B.  Payment to begin immediately (may be combined with:  C,  D, or  F below): or

 C.  Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $_____ over a period of _____ (e.g., months or
      years), to commence _____ days (e.g., 30 or 60 days) after the date of this judgment; or

 D.  Payment in equal monthly (e.g., weekly, monthly, quarterly) installments of $250.00 or 25% of gross monthly income in
      excess of $2,500, to commence 30 days (e.g., 30 or 60 days) after release from imprisonment to a term of
      supervision; or

 E.  Payment during the term of supervised release will commence within _____ days (e.g., 30 or 60 days) after release
      from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay
      at that time; or

 F.  Special instructions regarding the payment of criminal monetary penalties:

         Payment of restitution shall be in accordance with the Agreed Restitution Order filed in this case.

         You shall make restitution payments that remain outstanding from any wages you may earn in prison in
         accordance with the Bureau of Prisons Financial Responsibility Program.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.
